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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

CHARLES DAVIS, Individually and
on behalf of himself and as Administrator
ad Litem for THE ESTATE OF LAKITA
DAVIS, Deceased, and OCTAVIA JACKSON,
Individually and on behalf of herself                                                     PLAINTIFFS

v.                                CASE NO. 4:21-CV-00470-BSM

DOLLAR GENERAL CORPORATION,
RICK ELLIOT, Individually and in his
Official capacity as Chief of police,
JONESBORO POLICE DEPARTMENT,
MARTY BOYD, Individually and in his
official capacity as CRAIGHEAD COUNTY SHERIFF’S
OFFICE, DIRECTOR WILLIAM J. BRYANT,
Individually and in his official capacity as
Director, ARKANSAS STATE POLICE,
TANNER MIDDLECOFF, both individually
and in his official capacity, and JOHN AND
JANE DOES 1-10, Individually and in their
Official capacities as Arkansas State Police
Officers for the STATE OF ARKANSAS                                                     DEFENDANTS

                       BRIEF IN SUPPORT OF MOTION TO DISMISS

        I.       Introduction

        Plaintiffs filed this action against Dolgencorp, LLC (improperly referred to in Plaintiff’s

complaint as “Dollar General Corporation”), as well as various law enforcement officials and

agencies, seeking damages on claims for wrongful death, violations of 42 U.S.C. § 1983,

negligence, intentional infliction of emotional distress, loss of consortium, and negligent infliction

of emotional distress. Pursuant to Rules 12(b)(5) and 12(b)(6) of the Federal Rules of Civil

Procedure, separate defendant Dolgencorp, LLC (hereinafter, “Dolgencorp”) moves this Court to

dismiss plaintiffs’ claims against it for insufficient service of process and for failure to state a claim

upon which relief can be granted.

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       II.     Applicable Law

       Under Federal Rule of Civil Procedure 12(b)(5), a case may be dismissed for insufficient

service of process. The procedural requirement of service of the complaint and summons must be

satisfied before a federal court can exercise jurisdiction over a defendant. Omni Captiol Int'l, v.

Rudolf Wolff & Co., 484 U.S. 97, 104 (1987). In relevant part, Rule 4 of the Federal Rules of Civil

Procedure provides: “A summons must be served with a copy of the complaint. The plaintiff is

responsible for having the summons and complaint served within the time allowed by Rule

4(m) and must furnish the necessary copies to the person who makes service.” FED. R. CIV. P.

4(c)(1). Upon filing the complaint, the plaintiff has ninety (90) days to accomplish service. “If a

defendant is not served within 90 days after the complaint is filed, the court—on motion or on its

own after notice to the plaintiff—must dismiss the action without prejudice against that defendant

or order that service be made within a specified time.” FED. R. CIV. P. 4(m).

       Pursuant to Rule 12(b)(6), a case may be dismissed if the plaintiff fails to “state a claim

upon which relief can be granted.” When considering a Rule 12(b)(6) motion, the court must first

presume the truth of any factual allegations. See Ashcroft v. Iqbal, 556 U.S. 662, 677-678 (2009).

Second, the court must determine whether the factual content pleaded “allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. “Factual

allegations must be enough to raise a right to relief above the speculative level.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). While a court must generally accept a plaintiff’s

factual allegations as true at the pleading stage, it need not accept a plaintiff’s “legal conclusions

or ‘formulaic recitation of the elements of a cause of action’[.]” Braden v. Wal-Mart Stores, Inc.,

588 F.3d 585, 594 (8th Cir. 2009) (quoting Iqbal, 556 U.S. at 678). “Threadbare recital of the




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elements of a cause of action, supported by mere conclusory statements,” will not survive a motion

to dismiss under Rule 12(b)(6). Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

       III.    The Complaint Should be Dismissed for Insufficient Service of Process

       Dolgencorp first seeks dismissal based on FED. R. CIV. P. 12(b)(5). In sum, Plaintiffs failed

to meet the conditions of FED. R. CIV. P. 4(m), which require service to be made within 90 days

after the complaint is filed. Plaintiffs filed the complaint on May 28, 2021. (ECF No. 1). Here,

the deadline for service was August 26, 2021. However, Plaintiffs did not serve the complaint and

summons to Dolgencorp until August 30, 2021. (See Exhibit 1, Declaration of Lisa White). Thus,

the complaint should be dismissed in its entirety as to Dolgencorp for insufficiency of service of

process. See FED. R. CIV. P. 4(m), 12(b)(5).

       IV.     The Complaint Should be Dismissed for Failure to State a Claim Upon Which
               Relief Can be Granted

       The complaint contains only sparse allegations as to Dolgencorp.               It alleges that

Dolgencorp’s Dollar General employees called law enforcement officials to report an alleged

robbery involving the decedent Lakita Davis. Specifically, the complaint states that the employees

violated Dolgencorp’s employee handbook by “negligently, intentionally, recklessly and

maliciously” calling-in a robbery “for an alleged shoplift.” (ECF No. 1, Compl., ¶ 16). According

to the complaint, the employees “purposely lied to obtain an accelerated response” from law

enforcement officials. (Id. ¶ 17). Based on the information reported by these employees, law

enforcement gave chase to a vehicle being driven by Ms. Davis and occupied by Octavia Jackson.

(Id. ¶¶ 18, 21). Ms. Davis waited to stop the vehicle “until she could find a safe place to pull over.”

(Id. ¶ 20). Ms. Davis refused to stop, in part, due to experiencing prior instances of police

misconduct. (Id.). To stop the vehicle, law enforcement used an intervention technique known as




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a “pit maneuver.” (Id. ¶ 22). The vehicle consequently flipped over, causing fatal injuries to Ms.

Davis and permanent injuries to Ms. Jackson. (Id. ¶¶ 7-8, 23).

       The plaintiffs in this action are Charles Davis and Octavia Jackson (“Plaintiffs”). Mr.

Davis files this suit in his capacity as administrator ad litem of Lakita Davis’s estate, while Ms.

Jackson has asserted claims on her own behalf. Taken together, Plaintiffs allege causes of action

for violations of 42 U.S.C. § 1983, negligence, intentional infliction of emotional distress, and

negligent infliction of emotional distress. Plaintiffs also plead derivative claims for wrongful death

and loss of consortium. Nevertheless, the complaint’s factual allegations against Dolgencorp are

minimal and conclusory, and they fail to support the essential elements of any claim against

Dolgencorp. This pleading defect provides another basis for dismissing the complaint as to

Dolgencorp.

       A. 42 U.S.C. § 1983

       It is not clear whether Plaintiffs seek recovery against Dolgencorp under Section 1983.

Plaintiffs allege violations against “Defendant officers,” yet they generally request monetary

damages “as a result of Defendants’ actions.” (ECF No. 1, Compl., ¶¶ 30-31). To the extent that

Plaintiffs plead a Section 1983 claim against Dolgencorp, that claim should be dismissed because

Dolgencorp is not a state actor. In a Section 1983 action, a plaintiff can only sue a defendant that

acted “under color of state law.” See Adickes v. S.H. Kress & Co., 398 U.S. 144, 150, 152 (1970)

(establishing that private parties can be held liable under § 1983 only if they wilfully participated

in a joint activity with the State or its agents). Furthermore, it is well-established that “a private

party’s mere invocation of state legal procedures does not constitute state action.” Youngblood v.

Hy-Vee Food Stores, Inc., 266 F.3d 851, 855 (8th Cir. 2001) (affirming dismissal of accused

shoplifter’s Section 1983 claim against supermarket retailer). In this case, Plaintiffs only allege



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that Dolgencorp’s employees called in an alleged robbery. Plaintiffs allege no factual material to

suggest that Dolgencorp willfully participated in a joint activity with the State. Thus, to the extent

the complaint asserts a Section 1983 claim against Dolgencorp, that claim should be dismissed.

       B. Negligence

       Furthermore, the complaint’s negligence claim against Dolgencorp cannot withstand

dismissal. “In order to prevail on a claim of negligence, the plaintiff must prove that the defendant

owed a duty to the plaintiff, that the defendant breached that duty, and that the breach was the

proximate cause of the plaintiff's damages.” Hadder v. Heritage Hill Manor, Inc., 2016 Ark. App.

303, 8, 495 S.W.3d 628, 633 (2016).

       While the complaint alleges the general elements of a claim for negligence, it fails to

articulate any facts which would support these elements beyond the speculative level. See

Twombly, 550 U.S. at 555. Plaintiffs do not allege that Dolgencorp directly participated in the

“pit-maneuver” that led to Ms. Davis’s death and Ms. Jackson’s injuries. Instead, the complaint

pleads that Dolgencorp employees reported an alleged robbery to law enforcement, who then gave

chase to the vehicle driven by Ms. Davis. In a completely conclusory fashion, Plaintiffs allege the

employees “purposely lied” in order to obtain an accelerated response from law enforcement.

However, the complaint is devoid of any facts relating to what the employees said, to whom they

said it, or when they said it. “[T]he pleading standard Rule 8 announces does not require ‘detailed

factual allegations,’ but it demands more than an unadorned the defendant-unlawfully-harmed-me

accusation.” Iqbal, 556 at 678. Alleging that Dolgencorp’s employees provided untruthful

remarks to law enforcement does no more than raise a “mere possibility of misconduct,” which

cannot withstand dismissal. Id. at 679.




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       In addition, Arkansas law is clear that no duty of care arises when there is no control over

third persons or instrumentalities causing damages to an injured party. Tackett v. Merch.'s Sec.

Patrol, 73 Ark. App. 358, 362, 44 S.W.3d 349, 352 (2001) (“One is not liable for the acts of

another person unless a special relationship exists between the two, such as master and servant, or

unless a special relationship exists between him and the victim which gives the victim the right to

protection.”). Here, the complaint pleads no facts to suggest that any defendants involved in the

“pit-maneuver” tactic were Dolgencorp’s agents or otherwise subject to the control of Dolgencorp

and its employees. Thus, dismissal is also proper because there is no factual foundation to suggest

that Dolgencorp can be liable based on the alleged interactions between its employees and the

government defendants.

       C. Intentional Infliction of Emotional Distress

       Plaintiffs also assert a cause of action for intentional infliction of emotional distress

(otherwise known as “outrage”). The elements of a claim of intentional infliction of emotional

distress are: “(1) the actor intended to inflict emotional distress or knew or should have known that

emotional distress was the likely result of his conduct; (2) the conduct was “extreme and

outrageous,” was “beyond all possible bounds of decency,” and was “utterly intolerable in a

civilized community”; (3) the actions of the defendant were the cause of the plaintiff's distress;

and (4) the emotional distress sustained by the plaintiff was so severe that no reasonable person

could be expected to endure it.” Stanley v. Gen. Media Commc'ns, Inc., 149 F. Supp. 2d 701, 708

(W.D. Ark. 2001). “The test for outrage is an extremely narrow test that is committed by the most

heinous conduct.” Forrest City Mach. Works, Inc. v. Mosbacher, 312 Ark. 578, 585, 851 S.W.2d

443, 447 (1993). “Merely describing the conduct as outrageous does not make it so.” Fuqua v.

Flowers, 341 Ark. 901, 907, 20 S.W.3d 388, 392 (2000).



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         In the present case, the allegation that Dolgencorp’s employees reported an alleged robbery

does not reach the heightened standard for a claim of outrage. See Dillard Dep't Stores, Inc. v.

Adams, 315 Ark. 303, 306, 867 S.W.2d 442, 443 (1993) (setting aside jury verdict in favor of

customer “accused of a crime of which she was not convicted.”). The complaint, moreover, only

alleges in a conclusory statement that Plaintiffs suffered “mental and emotional damages” as a

result of the Defendants “intentional and malicious actions.” There are no factual allegations to

establish whether the damage at issue is of the kind needed to pursue a claim for outrage, i.e.,

severe emotional distress. See FMC Corp. v. Helton, 360 Ark. 465, 486, 202 S.W.3d 490, 505

(2005) (“While Appellees testified about suffering sleep loss, loss of appetite, and anxiety, such

distress is the type that reasonable people may be faced with throughout their lives. It does not

satisfy the type of distress encompassed by a claim for outrage.”). Accordingly, Plaintiffs’ claim

for intentional infliction of emotional distress should be dismissed as to Dolgencorp.

         D. Negligent Infliction of Emotional Distress

         Plaintiffs’ claim for negligent infliction of emotional distress should likewise be dismissed.

“Arkansas does not recognize the tort of negligent infliction of emotional distress.” Shelton v.

United    States,   2020    WL    4197094,     at *1     (E.D.   Ark.   July   21,   2020)    (quoting

Dowty v. Riggs, 385 S.W.3d 117, 120–21 (Ark. 2010)); see also Holman v. Flores, 2018 Ark.

App. 298, at 5, 551 S.W.3d 1, 4 (“Rick focuses on our supreme court's statement in Dowty that the

majority of jurisdictions in the United States allow recovery for negligent infliction of emotional

distress, and our supreme court might revisit the issue in the future. However, our supreme court

has not yet seen fit to revisit this issue and create a new tort, and Dowty remains the law in

Arkansas.”).




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       E. Wrongful Death and Loss of Consortium

       Lastly, the claims for wrongful death and loss of consortium also fail because both are

derivative in nature and cannot be supported by an independently viable cause of action. See

Brown v. Pine Bluff Nursing Home, 359 Ark. 471, 475, 199 S.W.3d 45, 48 (2004) (“A wrongful

death action is derivative in nature from the original tort, and where the underlying tort action is

no longer preserved, the wrongful death action is barred as well.”); see also In re Air Crash At

Little Rock, Arkansas, June 1, 1999, 170 F. Supp. 2d 861, 862 (E.D. Ark. 2001) (“Loss of

consortium of a child, like a wife or husband's loss of consortium, is universally considered a

derivative cause of action.”); Aetna Cas. & Sur. Co. v. Hatridge, 282 F. Supp. 604, 607 (W.D.

Ark. 1968) (recognizing that wife’s loss of consortium claim was “derivative and dependent upon

the husband’s right to recovery.”).

                                             CONCLUSION

       For the foregoing reasons, separate defendant Dolgencorp, LLC, respectfully requests the

Court to dismiss the complaint in its entirety as to Dolgencorp.

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